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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                  CRIMINAL ACTION NO. 3:07CR154-P-A

SHEILA AL-SANABANI, ET AL.,                                                 DEFENDANTS.

                                             ORDER

        This matter comes before the court upon Defendant Sheila Al-Sanabani’s sixth motion to

continue [108]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set to begin on Monday, November 3, 2008. Trial has been continued on

at least seven previous occasions. Defense counsel requests another continuance to accommodate

the national election on Tuesday, November 4, 2008. The court concludes that this is not a

permissible basis upon which to continue a trial pursuant to 18 U.S.C. § 3161. Accordingly, the

motion should be denied. The court, however, will grant a recess all day on Tuesday, November 4,

2008 to accommodate the election.

        IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Sheila Al-Sanabani’s

sixth motion to continue [108] is DENIED.

        SO ORDERED this the 22nd day of September, A.D., 2008.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
